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UNITED STATES DISTRICT COURT                                      EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                            §
                                                    §
versus                                              § CRIMINAL ACTION NO. 4:11CR182
                                                    §
SAVANNAH DAWN ROBERSON                              §


                  MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, the Court having heretofore

referred the request for the revocation of Defendant’s supervised release to the United States

Magistrate Judge for proper consideration. The Court has received the Report and Recommendation

of the United States Magistrate Judge pursuant to its order. Defendant having waived allocution

before the Court as well as his right to object to the report of the Magistrate Judge, the Court is of the

opinion that the findings and conclusions of the Magistrate Judge are correct.

         It is therefore, ORDERED that the Report and Recommendation of United States Magistrate

Judge is ADOPTED as the opinion of the Court.

         It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

         It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons

for a term of imprisonment of eight (8) months, with no term of supervised release to follow


         Signed this date
         May 9, 2017
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        The Court recommends that Defendant be housed in the Bureau of Prisons Women’s Facility at

Carswell or Tallahassee Florida, if available.

        IT IS SO ORDERED.




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